         CASE 0:20-cv-01502-JRT-HB Doc. 91 Filed 05/18/21 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
_______________________________________

 MILDRED BALDWIN and RONALD
 STRUCKOFF, on behalf of themselves and            Case No. 0:20-cv-01502 (JRT/HB)
 other similarly situated,

               Plaintiffs

 v.                                                NOTICE OF APPEARANCE OF
                                                   COUNSEL
 HEARINGPRO, INC. and MIRACLE-EAR,
 INC.,

               Defendants,

 v.

 LAS DAVIS ENTERPRISES, INC.,
 HEARINGPRO, INC., and TIFFANY
 DAVIS,

               Third-Party Defendants.



       The undersigned attorney hereby notifies the Court and counsel of record that

Raina C. Borrelli shall appear as counsel of record for Plaintiffs Mildred Baldwin and

Ronald Struckoff in this case.

Dated: May 18, 2021                         /s/ Raina C. Borrelli
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